Filed 01/28/16                                         Case 15-14228                                                     Doc 58


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES


    Case Title :          Oscar Gutierrez                                         Case No : 15−14228 − B − 13
                                                                                     Date : 01/28/2016
                                                                                     Time : 01:30

    Matter :              [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                          $176) (eFilingID: 5697015) (msam)


    Judge :               Rene Lastreto II                           Courtroom Deputy : Jennifer Dauer
    Department :          B                                                  Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


    HEARING CONTINUED TO: 3/23/16 at 01:30 PM

    The hearing was continued for the following reason(s):


    This motion was designated as DC No. CAA−1. Based on the debtor's opposition, this matter was continued to March
    23, 2016, at 1:30 p.m., to be heard in connection with the status conference on the related adversary proceeding,
    16−01010. This matter was deemed to be a contested matter. Pursuant to Federal Rules of Bankruptcy Procedure
    9014(c), the federal rules of discovery apply to contested matters. The parties shall immediately commence formal
    discovery, meet and confer, and set deposition dates if necessary. If the matter is not resolved by the continued
    hearing date the court intends to consolidate the motion in this case with the related motion, DC No. CAA−1 in case
    number 15−14225.

    Under § 362(e)(2), and without rendering a final decision on the merits, the court finds that the 60 day period for
    automatic termination of the stay shall be continued to March 23, 2016, subject to further extension, for cause,
    including the following:
    (a) Thus far uncontroverted evidence in opposition to the motion establishes a significant question as to the bona fides
    of debtor's signature on the note and deed of trust at issue;
    (b) Thus far uncontroverted evidence in opposition to the motion establishes significant dispute as to the payors under
    the promissory note at issue;
    (c) Movant's evidence of the promissory note includes ambiguous language as to the principal balance of the note;
    (d) Debtor's schedule D does not include the deed of trust at issue (Doc. # 1);
    (e) Debtor's schedules list movant as a creditor with a disputed and unliquidated unsecured claim of $133,000;
    (f) Thus far, movant has presented no evidence of imminent danger to the real property at issue, i.e., waste, violations
    of the law, lack of insurance, impending tax sale, etc.; and
    (g) Debtor has instituted an adversary proceeding (identified above) that raises issues fundamental to the resolution of
    this motion. Judicial economy will be served by consolidating the claims of the parties and avoiding conflicting or
    staggered rulings.

    The court will prepare and enter a civil minute order.
